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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

AARON JOSEPH CULLISON,
Plaintiff,

v. Civil No. 3:20cv578 (DJN)

MR. JOHNSON, et al.,
Defendants.

MEMORANDUM OPINION

On August 10, 2020, the Court conditionally docketed Plaintiff Aaron Joseph Cullison’s
(“Plaintiff”) action. (ECF No. 2.) Plaintiff requested leave to proceed in forma pauperis. (ECF
No. 3.) By Memorandum Order entered on September 2, 2020, the Court directed Plaintiff to
pay an initial partial filing fee of $69.28 or state under penalty of perjury that he did not have
sufficient assets to pay such a fee within eleven (11) days of the date of entry thereof. (ECF No.
7 (citing 28 U.S.C. § 1915(b)(1).) More than eleven days have elapsed and Plaintiff has neither
paid the initial partial filing fee nor averred that he cannot pay such a fee. Therefore, Plaintiff is
not entitled to proceed in forma pauperis. Plaintiff's disregard of the Court’s directives warrants
dismissal of the action. Accordingly, the action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall issue.

Let the Clerk file a copy of this Memorandum Opinion electronically and send a copy to

Plaintiff. h\ /
/s/ |)

David J. Novak LY
United States District Judge
Richmond, Virginia
Dated: September 22, 2020
